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                 EXHIBIT B-150
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                                                                          FILED IN OFFICE
                  IN THE SUPERIOR COURT OF FULTON COUNTY
                             STATEOF GEORGIA                                                3

IN RE 2 MAY 2022 SPECIAL PURPOSE                     2022-EX-000024
GRAND JURY



                               SCHEDULING ORDER

      On 18 April 2023, the District Attorney filed a motion seeking to disqualify the

attorney who is simultaneously representing ten of the individuals who sought to serve as

"alternate" presidential electors following the 2020 general election in Georgia. That

attorney, Kimberly Bourroughs Debrow, has until 5 May 2023 to file a response.

       SO ORDERED this 19th day of April 2023 ..__




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                                                Superior Court of Fulton County
                                                Atlanta Judicial Circuit
